















&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 11th
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Eastland,
Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion

&nbsp;

David Markley Lance

Appellant

Vs.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nos.
11-01-00151-CR, 11-01-00152-CR, &amp; 11-01-00153-CR B Appeals from Dallas
County

State of Texas

Appellee

&nbsp;

In Cause No.
11-01-00151-CR, appellant entered a plea of guilty to the offense of aggravated
sexual assault of S. C., a child younger than 14 years of age, by causing the
sexual organ of S. C. to contact his mouth.&nbsp;
In Cause No. 11-01-00152-CR, appellant entered a plea of guilty to the
offense of possessing child pornography.&nbsp;
In his confession, appellant admitted that he possessed a photograph of
a child younger than 18 years of age actually engaging in deviated sexual intercourse.&nbsp; In Cause No. 11-01-00153-CR, appellant
entered a plea of guilty to the offense of indecency with a child by using his
hand to contact the genitals of K. C., a child younger than 17 years of age,
with the intent to arouse and gratify his sexual desires.&nbsp; The trial court convicted appellant of each
offense and assessed his punishment at confinement for 40 years and a $5,000
fine for the aggravated sexual assault of S. C., confinement for 10 years and a
$3,000 fine for the possession of child pornography offense, and confinement
for 15 years and a $3,000 fine for the indecency with a child offense.&nbsp; Each sentence was in accordance with a plea
bargain agreement.&nbsp; We dismiss the
appeals for want of jurisdiction.

Appellant filed pro se Ageneral@ notices of appeal.&nbsp; Amended notices that comply with
TEX.R.APP.P. 25.2(b)(3) have not been filed.&nbsp;
ASpecial@ Rule 25.2(b)(3) notices
of appeal are required to invoke the jurisdiction of this court.&nbsp; White v. State, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;S.W.3d &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(No. 123-01,Tex.Cr.App., December 5,
2001)(not yet reported); Cooper v. State, 45 S.W.3d 77 (Tex.Cr.App.2001).&nbsp; 

Therefore, the appeals
are dismissed for want of jurisdiction.

&nbsp;

PER CURIAM

January 10, 2002

Do not publish.&nbsp; See TEX.R.APP.P. 47.3(b).

Panel consists of: Arnot, C.J., and

Wright, J., and McCall, J.





